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UNITED s'rArEs DISTRICT COURT 1 -¢ ,. /p'l]lr
WESTERN DISTRICT 0F TENNESSEE j ' 35 ry
Western Division §j;; § l ’~1 P-g ‘i t

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UNITED STATES OF AMERICA ;i_:-:,E_;:`.ii:§£i L.}..S' D;:q§_' wm
ii'r,"o“‘ `o'r: ru, stine-resists
-VS- Case No. 2:04cr204] 6-01Ma

DERICO BOBBITT

 

ORDER OF DETENT|ON PENDlNG TR|AL
F|ND|NGS
ln accordance With the Bail Reforni Act, 18 U.S.C. § 3142(£), a detention hearing Was not
held, The following facts and circumstances require the defendant to be detained pending trial.

The defendant is not currently eligible for release due to pending matters in another
jurisdiction; to Wit, the defendant is serving a sentence from another case.

DlRECT|ONS REGARD|NG DETENTION

DERICO BOBBITT is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal DERICO BOBBITT shall be afforded a reasonable opportunity for private
consultation With defense counsel. On order of a Court of the United States or on request of an attorney for the
govemment, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: May 9, 2005 /<()¢v,f'_Q/%j/ // %C,/yf

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:04-CR-20416 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

ENNESSEE

 

Katrina U. Earley

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Honorable Samuel Mays
US DISTRICT COURT

